
94 N.Y.2d 836 (1999)
ROSE ASSOCIATES, a Partnership, Respondent,
v.
LENOX HILL HOSPITAL, a New York Not-For-Profit Corporation, et al., Appellant, and IRENE ACALING et al., Defendants.
Court of Appeals of the State of New York.
Submitted September 20, 1999.
Decided December 2, 1999.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order which dismissed the appeal from Supreme Court's order denying appellant's motion for a stay and for reargument or to vacate or modify the judgment, dismissed upon the ground that such portion of the order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
Chief Judge KAYE taking no part.
